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                                       UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF FLORIDA
                                                 WEST PALM BEACH DIVISION

 UNITED STATES OF AMERICA                                                   §     JUDGMENT IN A CRIMINAL CASE
                                                                            §
 V.                                                                         §
                                                                            §     Case Number: 9:22-CR-80054-DMM(l)
 JASON EDWARD LOPEZ                                                         §     USM Number: 96641-509
                                                                            §
                                                                            §     Counsel for Defendant: M Caroline McCrae
                                                                            §     Counsel for United States : Reginald Cuyler
THE DEFENDANT:
 IZl pleaded guilty to count(s)                                 One through Ten
          pleaded guilty to count(s) before a U.S.
 □        Magistrate Judge, which was accepted by the
          court.
          pleaded nolo contendere to count(s) wh ich was
 □        accepted by the court
          was found guilty on count(s) after a plea of not
 □        guilty

The defendant is adjudicated gui lty of these offenses:
 Title & Section / Nature of Offense                                                              Offense Ended                 Count
 18 :   1349 Conspiracy To Commit Health Care Fraud and Wire Fraud                                 10/30/2020                   I
 18:    1347 Health Care Fraud                                                                     10/30/2020                   2
 18:    1347 Health Care Fraud                                                                     10/30/2020                   3
 18:    1347 Health Care Fraud                                                                     10/30/2020                   4
 18:    1347 Health Care Fraud                                                                     10/30/2020                   s
The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 D        The defendant has been found not guilty on count(s)
 D        Count(s)   D is    D   are dismissed on the motion of the United States

          It is ordered that the defendant must noti fy the United States attorney for this district within 30 days of any change of name,
res idence, or mailing address until all fines, restitution, costs, and specia l assessments imposed by this judgment are fully paid. If
ordered to pay restitution , the defendant must notify the court and United States attorney of material changes in economic
circum stances.




                                                                     DONALD M. MIDDLEBROOKS
                                                                     UNITED STATES DISTRICT JUDGE
                                                                     Name and Title of Judge

                                                                     Se tember 21 2022
                                                                     Date
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DEFENDANT:                JASON EDWARD LOPEZ
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                                 ADDITIONAL COUNTS OF CONVICTION

Title & Section/ Nature of Offense                                                               Offense Ended        Count
18:37 I Conspiracy To Defraud The United States and Pay Health Care Kickbacks                    10/30/2020           6
42: 1320a-7b(b)(2)(A) - Payment Of Kickbacks In Connection With A Federal Health Care Program    10/30/2020           7
42: 1320a-7b(b)(2)(A) - Payment Of Kickbacks In Connection With A Federal Health Care Program    10/30/2020           8
42: 1320a-7b(b )(2)(A) - Payment Of Kickbacks In Connection With A Federal Health Care Program   10/30/2020           9
18:1343 Wire Fraud                                                                               10/30/2020           10
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DEFENDANT:                 JASON EDWARD LOPEZ
CASE NUMBER:               9: 22-CR-80054-DMM( I)

                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

FORTY-EIGHT (48) MONTHS. This term consists of 48 Months as to Counts I through 10, all to run concurrently.

 IZI   The court makes the fo llowing recommendations to the Bureau of Prisons:
        The Defendant be designated to a faci lity in or as close to South Florida as possible.



 D     The defendant is remanded to th e custody of the United States Marshal.
 D     The defendant shall surrender to the Un ited States Marshal for this district:


          D     at                                   D      a.m.      D     p.m.        on

          D     as notified by the United States Marshal.

 1ZJ   The defendant shall surrender for service of sentence at the in stitution designated by the Bureau of Prisons of if not
       des ignated to the U.S. Marsha ls in Miami, Florida:

          1ZJ   before 2 p.m. on OCTOBER 21, 2022
          D     as notified by the United States Marshal.
          D     as notified by the Probation or Pretrial Services Office.



                                                              RETURN
I have executed thi s judgment as follows:


         Defendant delivered on - - - - - - - - - - - to


at _ _ _ _ _ _ _ _ _ _ _ ____, with a certified copy of this j udgment.




                                                                                             UN IT ED ST ATES MARSHAL

                                                                                                       By
                                                                                         DEPUTY UN ITED ST ATES MARSHAL
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DEFENDANT:                  JASON EDWARD LOPEZ
CASE NUMBER:                9:22-CR-80054-DMM( 1)

                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: THREE (3) YEARS as to each of
Counts I through IO, to run concurrently.

                                              MANDATORY CONDITIONS

 I.    You must not commit another federal , state or local crime.
 2.    You must not unlawfully possess a controlled substance.
 3.    You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release
       from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             □    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                  substance abuse. (check if applicable)
 4.    □     You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
             of restitution . (check if applicable)
 5.    1ZJ   You must cooperate in the collection of DNA as directed by the probation officer. (check       if applicable)
 6.    D     You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 , et
             seq.) as directed by the probation officer, the Bureau of Pri sons, or any state sex offender registration agency in which
             you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.    D     You must participate in an approved program for domestic violence. (ch eck    if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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DEFENDANT:                  JASON EDWARD LOPEZ
CASE NUMBER:                9:22-CR-80054-DMM(l)

                                STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision . These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 I. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs yo u to report to a different probation office or within a different time
frame .
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federa l judicial di strict where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must noti fy the probation officer at least IO days before the change. If notifying the probation officer at least I 0
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify th e probation officer within 72 hours.
 I 0. You must not own, possess, or have access to a firearm , am munition , destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction . The probation officer may contact the
person and confirm that you have notified the person about the risk .
13 . You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. I understand additional information regarding these conditions is available at
www.tlsp.uscourts.gov.

 Defendant' s Signature                                                                              Date
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DEFENDANT:                 JASON EDWARD LOPEZ
CASE NUMBER:               9:22-CR-80054-DMM(l)

                                 SPECIAL CONDITIONS OF SUPERVISION

Association Restriction: The defendant is prohibited from associating with Christine Pawlak, Frank Bianco
and Glenda Stockton while on probation/supervised release.

Financial Disclosure Requirement: The defendant shall provide complete access to financial information,
including disclosure of all business and personal finances, to the U.S . Probation Officer.

Health Care Business Restriction: The defendant shall not own, directly or indirectly, or be employed,
directly or indirectly, in any health care business or service, which submits claims to any private or government
insurance company, without the Court's approval. Defendant is permitted to work at a sober home facility.

No New Debt Restriction: The defendant shall not apply for, solicit or incur any further debt, included but not
limited to loans, lines of credit or credit card charges, either as a principal or cosigner, as an individual or
through any corporate entity, without first obtaining permission from the United States Probation Officer.

Permissible Search: The defendant shall submit to a search of his/her person or property conducted in a
reasonable manner and at a reasonable time by the U.S. Probation Officer.

Self-Employment Restriction: The defendant shall obtain prior written approval from the Court before
entering into any self-employment.

Unpaid Restitution, Fines, or Special Assessments: If the defendant has any unpaid amount ofrestitution,
fines, or special assessments, the defendant shall notify the probation officer of any material change in the
defendant's economic circumstances that might affect the defendant's ability to pay.
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DEFENDANT:                    JASON EDWARD LOPEZ
CASE NUMBER:                  9:22-CR-80054-DMM( I)

                                         CRIMINAL MONETARY PENALTIES
     The defendant must a the total criminal moneta
                       Assessment             Restitution                                Fine                                   NT A Assessment**
 TOTALS                  $ 1,000.00          $910,937.00                                 $.00

                                                                                 An Amended Judgm ent in a Criminal Case
            □               The determination of restitution is deferred until
                            (A 0245C) will be entered after such determination .
                            The defendant must make restitution (including community restitution) to the following payees in the
                            amount listed below.

                            Medicare - Joint and Several Amount $903,937.00
                            Loan - $7,000.00

          If the de fendant makes a parti al payment, each payee shall receive an approx imately proportioned pay ment. However, pursuant to 18 U.S.C .
          § 3664(i), all nonfederal victims must be paid before the United States is paid .




 D      Restitution amount ordered pursuant to plea agreement $
 D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date of the judgment, pursuant to 18 U.S .C. § 3612(t). All of the payment options on the schedule of
        payments page may be subject to penalties for delinquency and default, pursuant to 18 U .S.C. § 36 l 2(g).
 D      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        D the interest requirement is waived for the          □ fine                             D restitution
        D     the interest requirement for the                    D     fine                               □      restitution is modified as fo llows:

Restitution with Imprisonment - It is further ordered that the defendant shall pay restitution in the amount of$910,937.00 .

Upon release of incarceration , the defendant shall pay restitution at the rate of I 0% of monthly gross earnings, until such time as the
court may alter that payment schedu le in the interests of justice. The U.S. Bureau of Prisons, U.S. Probation Office and U.S.
Attorney ' s Office shall monitor the payment of restitution and report to the court an y material change in the defendant's ability to pay.
These payments do not preclude the government from using other assets or income of the defendant to satisfy the restitution
ob ligations .

* Amy, Vicky, and Andy Chi ld Pornography Victim Ass istance Act of 20 I 8, 18 U.S .C. §2259.
** Justice for Victims of Trafficking Act of20 15, 18 U.S.C. §30 14.
*** Findings for the total am.aunt of losses are required under Chapters I 09A,   I I 0, 11 0A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before Ap ril 23 , 1996.
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DEFENDANT:                     JASON EDWARD LOPEZ
CASE NUMBER:                   9:22-CR-80054-DMM(l)

                                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary pena lties is due as fo llows:

 A       1ZJ   Lump sum payments of $1 ,000.00 due immediately, balance due

It is ordered that the Defendant shall pay to the United States a special assessment of $1,000.00 for Counts 1, 2, 3, 4, 5, 6, 7, 8, 9
and 10, which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court. Payment is to
be addressed to:

           U.S. CLERK'S OFFICE
           ATTN: FINANCIAL SECTION
           400 NORTH MIAMI A VENUE, ROOM 8N09
           MIAMI, FLORIDA 33128-7716

Unless the court has express ly ordered otherwise, if thi s judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal mon etary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibi lity Program, are made to the clerk of the court.

The defendant shall receive credit for alt payments previously made toward any criminal monetary penalties imposed.

 [RI     Joint and Several Amount is $903,937.00 with Case Nos. 21-80134-CR-AMC Christine Pawlak and 21-80133-CR-DMM
         Frank Bianco . Total amount of restitution is $91 0,937 .00 .
         See above for Defendant and Co- Defe ndant Names and Case Numbers (including defendant number), Total Amount, Joint and
         Several Amount, and corresponding payee, if appropriate.


 □      The defendant shall forfeit the defendant 's interest in the following property to the United States :
        FORFEITURE of the defendant's right, title and interest in certain property is hereby ordered consistent with the plea
        agreement. The United States shall submit a proposed Order of Forfeiture within three days of this proceeding.

Payments shall be applied in the fo llowing order: ( I ) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) NTA assessment, (9) penalties, and ( IO) costs, including cost of prosecution
and court costs.
